                                                        Clear Form
DOCUMENTS UNDER SEAL                                                         TOTAL TIME (m ins): 07 mins
M AGISTRATE JUDGE                            DEPUTY CLERK                            REPORTER/FTR
M INUTE ORDER                                Lili M. Harrell                         2:27pm - 2:34pm
MAGISTRATE JUDGE                             DATE                                       NEW CASE       CASE NUMBER
Nathanael Cousins                            February 5, 2019                                          16-cr-00019 EJD
                                                         APPEARANCES
DEFENDANT                                     AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                   PD.     RET.
Serjoe Mercado                                         Y        P       Graham Archer                        APPT.
U.S. ATTORNEY                                 INTERPRETER                           FIN. AFFT              COUNSEL APPT'D
Marissa Harris for Maia Perez                                                       SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                   DEF ELIGIBLE FOR          PARTIAL PAYMENT
                             Anthony Granados                            APPT'D COUNSEL            OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                            STATUS
                                                                                                               TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT                 BOND HEARING          IA REV PROB. or           OTHER
                                                                                     or S/R
       DETENTION HRG               ID / REMOV HRG              CHANGE PLEA           PROB. REVOC.              ATTY APPT
                                                                                                               HEARING
                                                        INITIAL APPEARANCE
         ADVISED                 ADVISED                       NAME AS CHARGED           TRUE NAME:
         OF RIGHTS               OF CHARGES                    IS TRUE NAME
                                                           ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON                 READING W AIVED            W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT                   SUBSTANCE
                                                            RELEASE
      RELEASED            ISSUED                        AMT OF SECURITY         SPECIAL NOTES              PASSPORT
      ON O/R              APPEARANCE BOND               $                                                  SURRENDERED
                                                                                                           DATE:
PROPERTY TO BE POSTED                              CORPORATE SECURITY                     REAL PROPERTY:
    CASH    $


      MOTION            PRETRIAL                  DETAINED           RELEASED      DETENTION HEARING            REMANDED
      FOR               SERVICES                                                   AND FORMAL FINDINGS          TO CUSTODY
      DETENTION         REPORT                                                     W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                                PLEA
    CONSENT                     NOT GUILTY                     GUILTY                   GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA                 PLEA AGREEMENT           OTHER:
    REPORT ORDERED                                             FILED
                                                           CONTINUANCE
TO:                                ATTY APPT                  BOND                  STATUS RE:
2/11/2019 (previously set)         HEARING                    HEARING               CONSENT                  TRIAL SET

AT:                                SUBMIT FINAN.                PRELIMINARY         CHANGE OF                STATUS
                                   AFFIDAVIT                    HEARING             PLEA
1:30pm                                                          _____________
BEFORE HON.                        DETENTION                    ARRAIGNMENT          MOTIONS                 JUDGMENT &
                                   HEARING                                                                   SENTENCING
Davila
         TIME W AIVED              TIME EXCLUDABLE              IDENTITY /          PRETRIAL                 PROB/SUP REV.
                                   UNDER 18 § USC               REMOVAL             CONFERENCE               HEARING
                                   3161                         HEARING
                                                    ADDITIONAL PROCEEDINGS
Defendant's request for release is denied.


                                                                                          DOCUMENT NUMBER:
